


  PER CURIAM.
 

  We have for review
  
   Brown v. State,
  
  940 So.2d 500 (Fla. 4th DCA 2006), an unelabo-rated decision in which the Fourth District Court of Appeal relied upon its decision in
  
   Yisrael v. State,
  
  938 So.2d 546 (Fla. 4th DCA 2006) (en banc),
  
   disapproved in part,
  
  993 So.2d 952 (Fla.2008). When the Fourth District’s decision in
  
   Brown
  
  became final,
  
   Yisrael
  
  was already pending review in this Court. We have jurisdiction.
  
   See
  
  art. V, § 3(b)(3), Fla. Const.;
  
   Jollie v. State,
  
  405 So.2d 418, 420 (Fla.1981).
 

  We stayed proceedings in this case pending our disposition of
  
   Yisrael,
  
  in which we: (1) approved the decision of the First District in
  
   Gray v. State,
  
  910 So.2d 867 (Fla. 1st DCA 2005), and (2) disapproved the reasoning and rule of law articulated by the Fourth District in its underlying decision, but ultimately approved the result reached by that court
  
   on other grounds. See Yisrael v. State,
  
  993 So.2d 952, 960-61 (Fla.2008). We subsequently issued an order directing the State to show cause why we should not accept jurisdiction, summarily quash the decision under review, and remand for reconsideration in light of our decision in
  
   Yisrael.
  
  In response, the State asserts several record-based substantive contentions and urges that this Court deny review. However, the full appellate record is not before us, and the Fourth District is the proper tribunal in which to present these fact-based contentions.
 

  This Court has disapproved in part the very opinion upon which the district court relied below. Accordingly, we grant the petition for review, quash, and remand to the Fourth District Court of Appeal for reconsideration upon application of our decision in
  
   Yisrael.
  


  It is so ordered.
 

 
   *529
   
  QUINCE, C.J., and PARIENTE, LEWIS, CANADY, POLSTON, and LABARGA, JJ., concur.
 
